Case 1:07-cr-00029-PLM        ECF No. 117, PageID.1270         Filed 10/18/07     Page 1 of 4


                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,                          File No. 1:07-CR-29

v.                                                HON. ROBERT HOLMES BELL

KARL ALAN WHITE, JR.,

              Defendant.
_________________________________/


                      MEMORANDUM OPINION AND ORDER

       This matter is before the Court on Defendant Karl Alan White Jr.'s motion to dismiss

counsel.1 (Docket # 113.) On July 20, 2007, a jury convicted Defendant on all seven counts

charged against him in the indictment. (Docket # 94, Jury Verdict.) On September 27, 2007,

a forfeiture bench trial was held. Defendant moves for new counsel alleging that Defendant's

counsel, Scott Graham, was deficient in his performance during the criminal jury trial in July

and the forfeiture bench trial in September. Defendant also attached six statements from

individuals who dispute the truthfulness of the testimony that certain witnesses gave during

the trial in July. Defendant alleges that Mr. Graham has not sufficiently investigated these

statements.


       1
        Defendant's motion is entitled: "Motion to dismiss counsel and for a new trial under
Rule 33." As Defendant is represented by counsel any motion for a new trial would need to
made through counsel. See 28 U.S.C. § 1654; United States v. Mosely, 810 F.2d 93, 97-98
(6th Cir. 1987); United States v. Hill, 526 F.2d 1019, 1024-25 (10th Cir. 1975). Thus, the
only matter presently before the Court is Defendant's motion to dismiss counsel.
Case 1:07-cr-00029-PLM        ECF No. 117, PageID.1271          Filed 10/18/07    Page 2 of 4


       "The Sixth Amendment provides a criminal defendant with the right 'to have the

Assistance of Counsel for his defence.' An essential element of this right is the right to have

counsel of one's choice." United States v. Mooneyham, 473 F.3d 280, 291 (6th Cir. 2007)

(citing United States v. Gonzalez-Lopez, 126 S. Ct. 2557, 2561 (2006)). "The right to

counsel of choice, unlike the right to counsel, however, is not absolute." United States v.

Iles, 906 F.2d 1122, 1130 (6th Cir. 1990). "'An indigent defendant has no right to have a

particular attorney represent him and therefore must demonstrate 'good cause' to warrant

substitution of counsel.'" United States v. Saldivar-Trujillo, 380 F.3d 274, 277 (6th Cir.

2004) (quoting Iles, 906 F.2d at 1130).

       Defendant's motion refers to Mr. Graham's performance using key phrases from

various Supreme Court decisions on the effective assistance of counsel; however, Defendant

does not identify a single specific instance in which Mr. Graham's performance was

insufficient or inadequate. The Court finds nothing in the record to suggest that Mr. Graham

has not performed in a satisfactory manner.

       The Court also notes that at the beginning of the forfeiture bench trial on

September 27, 2007, Mr. Graham inquired into some allegations of ineffective assistance of

counsel that Defendant had made as part of a 28 U.S.C. § 2255 motion that Defendant had

sought to file.2 Based on the answers Defendant provided to questions posed by the Court



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        On September 25, 2007, the Court rejected Defendant's pleading that Defendant had
entitled as a motion under 28 U.S.C. § 2255 and Defendant's pleading was returned to him.
(Docket # 105, Order Rejecting Pleading.) The Court rejected the pleading for two reasons:
(1) Defendant is represented by counsel and therefore Defendant must file motions through
counsel, and (2) Defendant's motion under 28 U.S.C. § 2255 was premature as Defendant is
not scheduled to be sentenced until October 26, 2007. (Id.)

                                              2
Case 1:07-cr-00029-PLM        ECF No. 117, PageID.1272          Filed 10/18/07    Page 3 of 4




and by Mr. Graham, the Court found that there was no basis for removing Mr. Graham.

Defendant's motion presents no new facts or allegations, beyond those that were known at

the September 27 forfeiture trial, with one possible exception. Defendant has provided

statements from six individuals who allege that false testimony was given in the course of

Defendant's criminal jury trial. (Docket # 113, Att. 1.) The statements may be summarized

as alleging that several witnesses gave false testimony in exchange for favorable treatment

from the government. Although some of the witnesses at Defendant's criminal jury trial may

not have testified truthfully, the credibility and veracity of witnesses was a question for the

jury. With respect to Mr. Graham's performance, the Court notes that Mr. Graham cross-

examined the witnesses at issue as to any favorable treatment they may have received, or

expected to receive, from the government in exchange for their testimony. (Branson Test.,

Trial Tr. 161:2-164:15; Wogoman Test., Trial Tr. 260:3-261:6; Tillman Test., Trial Tr.

403:4-405:20; Stafford Test., Trial Tr. 501:25-503:5.) Mr. Graham's cross-examination of

these witnesses permitted the jury to consider the witnesses' credibility in the context of the

agreements that the witnesses had made with the government. Therefore, the six statements

attached to Defendant's motion do not suggest any insufficiency or inadequacy in the

performance of Mr. Graham.

       Upon evaluating Defendant's motion in the context of the documents Mr. Graham has

filed in this matter, his performance at the criminal trial in July, his performance at the

forfeiture trial in September, and the Court's general familiarity with Mr. Graham's ability



                                              3
Case 1:07-cr-00029-PLM        ECF No. 117, PageID.1273      Filed 10/18/07    Page 4 of 4




as a defense attorney, the Court finds that Defendant has not demonstrated "good cause" to

warrant the substitution of counsel.

        Accordingly,

        IT IS HEREBY ORDERED that Defendant Karl Alan White's motion to dismiss

counsel (Docket # 113) is DENIED.




Date:      October 18, 2007              /s/ Robert Holmes Bell
                                         ROBERT HOLMES BELL
                                         CHIEF UNITED STATES DISTRICT JUDGE




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